Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 1 of 17
                                                 21-884-ADC
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 2 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 3 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 4 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 5 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 6 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 7 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 8 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 9 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 10 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 11 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 12 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 13 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 14 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 15 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 Page 16 of 17
Case 1:23-cr-00257-JRR Document 2 Filed 03/25/21 21-884-ADC
                                                 Page 17 of 17




                       25th
